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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


CB&I AREVA MOX SERVICES, LLC,                     )
                                                  )
                  Plaintiff,                      )         No. 16-950C, 17-2017C,
                                                  )         18-80C, 18-522C, 18-677C,
v.                                                )         18-691C, 18-921C, 18-1779C,
                                                  )         19-245C (consolidated)
                                                  )
                                                  )         Judge Thomas C. Wheeler
THE UNITED STATES OF AMERICA,                     )
                                                  )
                  Defendant.                      )


                                   JOINT STATUS REPORT


           Pursuant to the Court’s order dated June 24, 2019, ECF Dkt. No. 228, and the Joint

Status Report dated July 28, 2019, ECF Dkt. No. 229, plaintiff, CB&I AREVA MOX

Services, LLC and defendant, the United States, respectfully submit this joint status report

advising the Court on the status of the parties’ efforts to resolve this matter through

compromise, consistent with an agreement-in-principle reached on June 18, 2019. Since

then, the parties have made significant progress toward resolving some remaining issues, and

are continuing to prepare the final settlement agreement that will be presented to each party’s

respective settlement authority for consideration. The parties will file a joint status report on

or before September 20, 2019, advising the Court on the status of the parties’ settlement

efforts.
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Respectfully submitted,




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August 23, 2019




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